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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                     _______________________________________
                                         )
                                         )
IN RE: NEW ENGLAND                       )     MDL No. 1:13-md-2419-FDS
COMPOUNDING PHARMACY, INC.               )
PRODUCTS LIABILITY LITIGATION            )
                                         )
This Document Relates To:                )
                                         )
      All Actions                        )
                                         )
                                         )


                                        MDL Order No. 6
                                         June 28, 2013

                                CASE MANAGEMENT ORDER


       This order establishes further case management procedures in In re New England

Compounding Pharmacy, Inc., Products Liability Litigation, MDL No. 1:13-md-2419-FDS (“the

MDL”).

I.     SCOPE OF ORDER

       This order applies to all actions transferred to this Court by the Judicial Panel on

Multidistrict Litigation pursuant to its order of February 12, 2013; any tag-along actions

transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to Rule 7.4 of

the Rules of Procedure of that Panel; any related actions originally filed in this Court or

transferred or removed to this Court; and any related actions subsequently filed in this Court or

otherwise transferred or removed to this Court.

       For the purposes of this order, “NECC” shall mean New England Compounding

Pharmacy, Inc. d/b/a New England Compounding Center; “affiliated defendants” shall mean
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other entities or individuals affiliated with NECC; and “unaffiliated defendants” shall mean other

entities not affiliated with NECC.

II.    CASE ADMINISTRATION

       A.      Status Conferences

       The Court expects to conduct a status conference about once a month, on such dates and

at such times as it deems appropriate. Plaintiffs’ Steering Committee, the defendants, the trustee

appointed in the chapter 11 case of NECC, the official committee of unsecured creditors in the

chapter 11 case (the “Creditors’ Committee”), and any other interested parties may participate in

the status conferences.

       Attorneys may listen to the monthly status conferences by telephone. Plaintiffs’ lead

counsel shall provide the Court with a list of plaintiffs’ attorneys; Creditors’ Committee

members, member representatives, and attorneys; and the trustee’s representatives and attorneys

who will participate by phone and shall distribute the dial-in number to those counsel. Counsel

for Ameridose, LLC shall provide the Court with a list of defendants’ attorneys who will

participate by phone and shall distribute the dial-in number to those counsel. Any attorney who

wishes to be heard by phone must obtain permission from the Court to do so before the status

conference by contacting the Court’s clerk.

       The Plaintiffs’ Steering Committee, the defendants, the trustee, and the Creditors’

Committee should confer on a proposed agenda in advance of each conference. The parties shall

endeavor to submit a joint agenda to the Court the day before each conference. To the extent

that the parties cannot agree, separate agenda items may be submitted the day before the status

conference.



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          B.      Master Service List and Waiver of Service of Formal Process

          Plaintiffs’ lead counsel shall create and maintain an up-to-date service list of plaintiffs’

counsel in the MDL. Such list shall be provided monthly to the Court, the trustee, and defense

liaison counsel the day before each scheduled status conference. All filings by any party shall be

accomplished via ECF.

          The following defendants have agreed to waive formal service of process of all

complaints filed in and/or transferred to the MDL in accordance with the procedure set forth

herein:

          1.      Ameridose, LLC;

          2.      Barry J. Cadden;

          3.      Lisa Conigliaro Cadden;

          4.      Glenn A. Chin;

          5.      Gregory Conigliaro;

          6.      GDC Properties Management, LLC;

          7.      Medical Sales Management, Inc.;

          9.      Doug Conigliaro;

          10.     Carla Conigliaro; and

          11.     Alaunus Pharmaceuticals, LLC.

          Plaintiff’s counsel wishing to obtain waiver of formal service of process from the above

mentioned defendants must provide the following to each defendant’s counsel, via first-class

certified mail:

          1.      affidavit of waiver of service of formal process;

          2.      a true copy of the complaint;

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        3.     a true copy of the civil action cover sheet;

        4.     a true copy of the summons; and

        5.     a postage pre-paid return envelope.

        Upon receipt of those materials by first-class mail, counsel for defendant shall execute

the affidavit of waiver of service of formal process and return it to plaintiff’s counsel within 14

days. Plaintiff’s counsel shall then file an affidavit of waiver of service of formal process with

the court within the timeframe required by Rule 4.

        The parties have agreed that by complying with the procedure set forth herein, a plaintiff

has fulfilled his or her obligations under Rule 4.

        C.     Existing Orders

        The orders previously entered in Erkan v. New England Compounding Pharmacy, Inc. et

al., 12-cv-12052, apply to all actions in the MDL unless superseded or modified by a later order

of this Court. These include, but are not limited to, the preliminary injunction order (Dkt. No.

38), the inspection orders (Dkt. Nos. 100, 126), and the preservation orders (Dkt. Nos. 110, 111,

112).

        Plaintiffs’ Steering Committee, NECC, the affiliated defendants, and the Creditors’

Committee may, after meeting and conferring, jointly or otherwise ask the Court to modify

provisions of the preservation orders if complying with those orders becomes unduly

burdensome or unnecessary.

        Nothing in this order shall prevent any party from moving for a stay of discovery or other

proceedings for any reason, or from opposing such a motion.




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       D.      Answer Dates

       All deadlines for responding to complaints, filing dispositive motions, or responding to

dispositive motions to dismiss are temporarily stayed. No defendant need answer any complaint

until further order of this Court. These deadlines will be revisited as discovery progresses.

Notwithstanding that stay, Alaunus Pharmaceutical, LLC has voluntarily agreed to extend the stay

to the deadlines for responding to its motions to dismiss under Rule 12(b)(6) and may terminate the

stay as to those deadlines by filing a notice in the MDL docket. Any plaintiff who has not filed an

opposition to those Rule 12(b)(6) motions shall then have 30 days from the date of the filing of the

notice to do so.

       E.      Waiver of Pre-suit Notice Requirements

       Each of the following defendants have agreed to waive the applicability of any “state law

suit requirements,” including, but not limited to, any state law or state court rule requiring: notices

of intent to sue; affidavits of merit; certifications of expert review; review by any attorney, expert,

tribunal and/or panel; pre-suit arbitration; or similar pre- or immediate-post-suit action concerning

the substantive merits of a claim. Plaintiffs have agreed to waive applicability of any state law or

state court rule requiring any of the following defendants to engage in or file, as a condition of

answering a complaint: responses to a notice of intent to sue; affidavits of merit; certifications of

expert review; review by any attorney, expert, tribunal or panel; or similar pre- or immediate-post-

suit action concerning the substantive merits of a claim or defense. Any pleading or motion

asserting the applicability of any “state law suit requirements” described herein, whether considered

procedural or jurisdictional, is deemed struck as to these parties. Individual parties may move the

Court for additional, appropriate relief.



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       The Defendants who have waived the “state law suit requirements” are:

       1.      NECC;

       2.      Ameridose, LLC;

       3.      Barry J. Cadden;

       4.      Lisa Conigliaro Cadden;

       5.      Glenn A. Chin;

       6.      Gregory Conigliaro;

       7.      GDC Properties Management, LLC;

       8.      Medical Sales Management, Inc.;

       9.      Doug Conigliaro;

       10.     Carla Conigliaro; and

       11.     Alaunus Pharmaceuticals, LLC

       Other defendants may opt to similarly waive these requirements by notifying the Plaintiffs’

Steering Committee.

       F.      Tolling

       The Plaintiffs’ Steering Committee and affiliated defendants should meet and confer about

an agreement to toll the limitations period, for a reasonable period of time, on claims against the

affiliated defendants filed in the MDL, or that will be filed in the MDL, to which a one-year statute

of limitations applies. If they reach agreement, they should jointly submit a proposed tolling

agreement by July 7, 2013. The parties may, if they agree, implement a bar date process into the

same tolling agreement.

        No action taken pursuant to this order shall in any manner interfere with the trustee’s or the



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affiliated defendants’ rights or obligations under the Agreed-Upon Order Establishing Protocol for

Settlement Negotiations and Communications entered in the chapter 11 case (Moore v. Cadden,

Adv. Pro. No. 13-01040-HJB at Dkt. No. 96 (Bankr. D. Mass. Apr. 18, 2013)), including, but not

limited to, the right to enter into a separate tolling agreement.

        G.      Stipulation Regarding Direct Filing of New Federal Cases into the MDL

        In order to eliminate delays associated with transfer of cases filed in or removed to other

federal district courts to this Court as part of the MDL and to promote judicial efficiency, defendants

have stipulated and agreed that they will not assert any objection of improper venue as to any

NECC-related case alleging personal injury and/or wrongful death filed directly in the District of

Massachusetts that is properly included in the MDL, where venue may otherwise appropriately lie

in a federal district outside the District of Massachusetts, except as provided below.

        The defendants’ stipulation and agreement are contingent on the understanding that they

have not waived their rights to transfer any case in the MDL to a court of proper venue under 28

U.S.C. § 1406(a) or, if applicable, under 28 U.S.C. § 1334(c)(1). Furthermore, upon the completion

of all pretrial proceedings applicable to a case directly filed in the District of Massachusetts pursuant

to this stipulation regarding filing in the MDL, the Court (1) pursuant to 28 U.S.C. § 1404(a), may

transfer the case filed directly in the District of Massachusetts to a federal district court of proper

venue as defined in 28 U.S.C. § 1391, based on the recommendations of the parties to that case, or,

if the parties cannot agree, based on its own determination after briefing from the parties; or (2)

pursuant to 28 U.S.C. § 1334(c)(1), may remand the case filed directly in the District of

Massachusetts to a state court of proper venue, based on the recommendations of the parties to that

case, or, if the parties cannot agree, based on its own determination after briefing from the parties.



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       Any action seeking to take advantage of the venue provisions of this section must be

pursuant to a complaint filed: (1) by an individual plaintiff on behalf of him or herself or on behalf

of an injured minor child for which the individual is guardian or next friend; (2) by a plaintiff and

family member plaintiffs; or (3) on behalf of an appointed representative of the estate of a deceased

or incompetent individual, together with any family members and/or beneficiaries of such estate.

Other than as expressly provided above, a complaint may not be filed without the prior approval of

this Court. Multi-plaintiff complaints or complaints joining two or more plaintiffs not related by

blood or marriage may not be filed without the prior approval of this Court.

       H.      Settlement Discussions with the Affiliated Defendants

       The trustee is currently engaged in settlement discussions with NECC and the affiliated

defendants, pursuant to the Agreed-Upon Order Establishing Protocol for Settlement Negotiations

and Communications entered in the chapter 11 case. Plaintiffs’ lead counsel and the Creditors’

Committee should be kept apprised of the status of that process to the extent permitted by the

Bankruptcy Court.

       The Plaintiffs’ Steering Committee may nonetheless commence formal discovery against any

one or more affiliated defendants upon a showing of good cause to this Court.

       I.      Settlement Discussions with Unaffiliated Defendants

       To the extent that there are settlement discussions with unaffiliated defendants, or entities

who are otherwise non-parties to the MDL, outside of the context of the ongoing settlement

discussions with affiliated defendants discussed in the previous section, the Plaintiffs’ Steering

Committee, the Creditors’ Committee, and the trustee may participate in those settlement

discussions.



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       The Plaintiffs’ Steering Committee, the Creditors’ Committee, and the trustee shall each

have an opportunity to provide input into any discussions of settlement, mediation, resolution

through bankruptcy channels, or any other form of resolution, and shall seek to approach and engage

in these discussions in a coordinated, cooperative manner.

       To the extent that any communications about resolution of claims against the unaffiliated

defendants or non-parties take place without a designee from each of the Plaintiffs’ Steering

Committee, the Creditors’ Committee, and the trustee, the designee who received or was involved

in said communication shall promptly notify the absent designee(s) about those communications and

shall thereafter ensure that further discussions occur with a full complement of designees present

in accordance with this section.

       Plaintiffs’ lead counsel and the Creditors’ Committee may each designate one or more

members or member representatives to participate in settlement discussions with unaffiliated

defendants and non-parties. Plaintiffs’ lead counsel and the Plaintiffs’ Steering Committee have

designated national defendant and state-specific defendant chairs as Plaintiffs’ lead counsel’s

designees for settlement discussions on behalf of lead counsel and the Plaintiffs’ Steering

Committee. The Plaintiffs’ Steering Committee designee is required to consult with the Plaintiffs’

Steering Committee and lead counsel, and cannot bind them to any decision. The Creditors’

Committee may designate one or more members or member representatives to participate in

settlement discussions with unaffiliated defendants and non-parties. The Plaintiffs’ Steering

Committee’s designee(s) and the Creditors’ Committee designee(s) should communicate and

cooperate with respect to settlement discussions.




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       J.      Mediation with Unaffiliated Defendants and Non-Parties

       The Plaintiffs’ Steering Committee, the trustee, and the Creditors’ Committee shall confer

and shall submit to the Court within 30 days a proposed mediation order to be entered in this Court

and the Bankruptcy Court concerning all unaffiliated defendants and non-parties.

       In order to participate in the mediation program, an entity or individual will be required to

produce, informally, materials and information necessary for effectively mediating claims. The

Plaintiffs’ Steering Committee, the Creditors’ Committee, and the unaffiliated entities or individuals

who wish to participate in the mediation process should discuss and agree upon what materials an

entity or individual must produce in order to participate in mediation.

       Participation in this mediation process is at will. Plaintiffs’ lead counsel, the Creditors’

Committee, the trustee, or the unaffiliated defendants and non-parties may withdraw from that

process as to any particular unaffiliated defendant or non-party at any time and proceed with

litigation as to such unaffiliated defendant or non-party in a manner consistent with this order.

       The proposed mediation order shall provide that any unaffiliated defendant or non-party who

elects to participate in mediation shall, among other things:

       1.      be exempt from discovery except as required to facilitate participation in mediation.

               The exemption should continue in force so as long as the mediator does not report

               to this Court and the Bankruptcy Court that (a) the subject defendant or potentially

               responsible party is not negotiating in good faith; (b) that the mediation as to the

               defendant or potentially responsible party has reached impasse terminating mediation

               as to them; or © that the mediation as a whole has reached impasse and should be

               terminated. The election shall require the defendant or potentially responsible



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               entity/person to submit to jurisdiction of this Court and Bankruptcy Court;


       2.      voluntarily agree to a standing injunction order tolling any statutes of limitation or

               other applicable time bar statutes;


       3.      voluntarily agree to a standing injunction order suspending or extending any and all

               applicable pre-suit or post-suit requirements related to health care orders, including

               any notices, arbitration or panel submission requirements, or affidavits of service;


       4.      provide a statement to the appointed mediator, the Plaintiffs’ Lead Counsel, a liaison

               to the defendants, the trustee, and the Creditors’ Committee identifying any other

               potentially responsible parties liable to tort claimants or liable to the defendants or

               another potentially responsible party regarding injuries related to the allegedly

               contaminated methylprednisolone acetate and the grounds or basis of the claim.

               Statements should be deemed mediation material and not admissions, and are not

               admissible in any judicial proceeding; and


       5.      file a proof of claim in the chapter 11 case.


III.   COORDINATION WITH OTHER ACTIONS

       To the extent that there are NECC-related cases pending in state courts that are not a part

of the MDL, but that fall within the subject matter definition of the MDL, this Court intends to

coordinate with the state courts presiding over such cases, to the extent that such state courts are

amenable. The Court may issue more detailed orders regarding such coordination, should the

need arise.


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       The federal-state liaison counsel shall update the Court on the status of state court actions

at each status conference.

       The Plaintiffs’ Steering Committee and the Creditors’ Committee shall appoint a

designee to meet telephonically or in person on a regular basis, but no less than once a week, to

discuss status and strategy of the MDL cases and the chapter 11 case, including with respect to

settlement negotiations. Within 30 days, the Plaintiffs’ Steering Committee and the Creditors’

Committee shall enter into a common interest agreement in form and substance reasonably

acceptable to both parties. The trustee may elect to participate in the meetings between the

Plaintiffs’ Steering Committee and the Creditors’ Committee; otherwise the Plaintiffs’ Steering

Committee and the Creditors’ Committee should keep the trustee apprised of the status of the

process.

IV.    PRETRIAL PROCEDURES AND SCHEDULE

       A.      Plaintiff Profile Sheets

       The Plaintiffs’ Steering Committee, the defendants, the trustee, and the Creditors’

Committee should meet and confer about an appropriate plaintiff profile sheet, to be addressed

by subsequent order.

       B.      Medical Authorization Releases

       The Plaintiffs’ Steering Committee, the defendants, the trustee, and the Creditors’

Committee should meet and confer about an appropriate medical authorization release and

medical records retrieval, to be addressed by subsequent order.

       C.      Master and Short Form Complaints

       The Plaintiffs’ Steering Committee shall file a master complaint by September 5, 2013, after

meeting and conferring with the defendants and the trustee. This deadline is intended to permit the

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Plaintiffs’ Steering Committee a period of time to conduct discovery and incorporate the fruits of

that discovery into the master complaint. The Plaintiffs’ Steering Committee shall also provide a

short form complaint by September 5, 2013, after meeting and conferring with the defendants and

the trustee. The filing of a master complaint or short form complaint will not render the motions to

dismiss of Alaunus Pharmaceutical, LLC or any other defendant moot. Defendants may move to

dismiss under Rule 12(b)(6) against plaintiffs’ original complaints.

       By October 1, 2013, MDL plaintiffs who have already filed a complaint as of the filing of

the master complaint may file short form complaints or, with leave of the Court, amended

complaints.

       D.      Discovery

               1.      Discovery Schedule

       Formal discovery of NECC and the affiliated defendants shall remain temporarily stayed

as set forth in this order and the previous orders of the Court.

       Subject to a stay of discovery for mediation participants in accordance with a mediation

order, formal discovery of unaffiliated defendants and non-parties shall be conducted by the

Plaintiffs’ Steering Committee as follows:

       1.      written discovery (including, but not limited to, requests for production,

               interrogatories, requests for admissions, and subpoenas duces tecum) may

               commence immediately and must be served in time to be returnable as soon as

               practicable; and

       2.      depositions of witnesses and/or corporate designees, including but not limited to,

               the following entities may be taken and completed as soon as practicable: ARL



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              Bio Pharma, Inc., Liberty Industries, Inc., UniFirst Corporation and its subsidiary

              UniClean, St. Thomas Outpatient Neurosurgical, Specialty Surgery Center, Curtis

              Pharmaceuticals, and CuraScript, Inc., and Michigan Pain Specialists, PLLC. The

              Plaintiffs’ Steering Committee should consult with defense liaison counsel in

              scheduling depositions.


              2.      Mandatory Production to Plaintiffs’ Steering Committee

       Any formal discovery produced by any plaintiff, defendant or non-parties in any of the

MDL cases or any other civil actions involving allegations of injury from use of an NECC

product, must also be produced to the Plaintiffs’ Steering Committee no later than seven days

after production elsewhere. Documents must be sent to lead counsel’s attention in the format

produced elsewhere (whether electronic or hard copy):

              HAGENS BERMAN SOBOL SHAPIRO LLP
              Attn: Mike Barker
              55 Cambridge Parkway, Suite 301
              Cambridge, MA 02142

Lead counsel should make these documents available through a document repository, as

described below.

       An electronically stored information protocol outlining the format of production of

documents will be addressed in a subsequent order. The default should be that all documents are

produced in their native format (for example, in Word, Excel, or PowerPoint format for

electronic documents or photocopies for hardcopy documents) in order to minimize burden and

expense incurred.

              3.      Privilege Logs



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       The form and content of privilege logs for documents withheld (or redacted) on privilege

or work product grounds will be addressed in a subsequent order.

               4.      Authentication of Documents

       The process for authenticated documents produced in discovery will be addressed in a

subsequent order.

               5.      Document Repository

       The Plaintiffs’ Steering Committee shall create and maintain an online document

repository accessible (at minimum) by the Creditors’ Committee, the trustee, and plaintiffs’

counsel of record in any action alleging injury related to a plaintiff’s use of a product sold by

NECC with the understanding that access to proprietary fields of information can be restricted.

The Plaintiffs’ Steering Committee and the Creditors’ Committee should meet and confer with

the trustee and the defendants with the goal of creating a single document repository that is

accessible to all of those entities in order to minimize costs.

       The Plaintiffs’ Steering Committee shall make all formal discovery produced by

plaintiffs, defendants or non-parties pursuant to Section IV.D.2. available through this or another

online document repository, subject to certain conditions. Any plaintiffs’ or defendants’ counsel

who seeks access to the repository must comply with any confidentiality order and/or protective

order entered in this case. In addition, any counsel may be (at the Plaintiffs’ Steering

Committee’s discretion) subject to a reasonable assessment or cost-sharing arrangement as a

condition precedent to use of the repository. The Plaintiffs’ Steering Committee shall agree with

the Creditors’ Committee as to any assessment, if any, required to access the repository.

       All materials produced by defendants or non-parties to the Creditors’ Committee



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pursuant to formal discovery shall be timely provided to the Plaintiffs’ Steering Committee and

made available through the repository.

         Materials produced informally or pursuant to a confidentiality or protective order by the

trustee to the Plaintiffs’ Steering Committee or the Creditors’ Committee shall not be made

available through the repository.

         E.     Confidentiality of Communications with Experts

         The confidentiality of communication with experts will be addressed in a subsequent

order.

         F.     Chapter 11 Plan

         The Plaintiffs’ Steering Committee, the trustee, and the Creditors’ Committee should

confer regarding formulation of a chapter 11 plan in the Bankruptcy Court. This order does not

withdraw the reference to the Bankruptcy Court in connection with the chapter 11 case,

including but not limited to negotiation and formulation of a bankruptcy plan, plan issues, plan

disclosure requirements, plan confirmation, and Plan implementation or enforcement. The

parties may seek, or oppose, in whole or in part, withdrawal of the reference to the Bankruptcy

Court.

         G.     Reservation of Rights

         The Plaintiffs’ Steering Committee’s duties run to all plaintiffs with cases in the MDL

currently or later filed in or transferred to the MDL. Except as otherwise provided herein,

nothing in this order shall diminish the obligations of lead counsel and the Plaintiffs’ Steering

Committee to discharge their duties under MDL Order No. 2.

         The Creditors’ Committee duties run to all creditors with unsecured claims against



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NECC. Except as otherwise provided herein, nothing in this order shall limit, restrict or

otherwise affect the authority and duties of the Creditors’ Committee, as provided by 11 U.S.C.

§§ 1102 and 1103, including, but not limited to, the following statutory duties: (1) to consult and

participate with the trustee concerning the administration of the chapter 11 case; (2) to

investigate the acts, conduct, assets, liabilities, and financial condition of NECC, the operation of

NECC’s business and the desirability of the continuance of such business, and any other matter

relevant to NECC’s chapter 11 case or to the formulation of a bankruptcy plan, including,

without limitation, investigating claims by NECC against other parties or by other parties against

NECC; (3) to participate in the formulation of a bankruptcy plan, advise creditors on the

Creditors’ Committee’s determinations as to any bankruptcy plan formulated, and collect and file

with the Court acceptances or rejections of a bankruptcy plan, including, without limitation,

negotiating with the trustee, unsecured creditors (including any holders of personal injury, tort,

and wrongful death cases against NECC and any holders of asserted or contingent indemnity,

contribution, or similar claims against NECC) and other relevant parties contemplated to be

included in, part of or impacted a bankruptcy plan any and all plan or plan-related content,

provisions and related agreements; and (4) to communicate with and provide access to

information to any and all unsecured creditors of NECC (including any holders of personal

injury, tort, and wrongful death cases against NECC and holders of asserted or contingent

indemnity, contribution, or similar claims against NECC).




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V.    TIMELINE OF EVENTS

                    Event                                             Date / deadline

 Fact discovery as to NECC and the affiliated         Temporarily stayed.
 defendants

 Fact discovery as to unaffiliated defendants         Open, subject to any proposed mediation order
 and non-parties                                      that is entered by the Court.

 Motion(s) for entry of a confidentiality order       July 3, 2013
 filed
 Plaintiffs’ Steering Committee, defendants,          July 9, 2013
 Trustee, and Creditors’ Committee to meet
 and confer about scope of initial discovery of
 plaintiffs
 Plaintiffs’ Steering Committee, Trustee, and         July 3, 2013
 Creditors’ Committee to propose mediation
 order for unaffiliated defendants
 Fact discovery as to unaffiliated defendants         July 30, 2013
 and non-parties returnable by

 Discovery depositions as noted above                 August 1, 2013

 Depositions as to unaffiliated defendants and        August 15, 2013
 non-parties complete

 Master complaint filed                               September 1, 2013

 Deadline to file amended complaints for cases        Fall 2013
 filed before September 1, 2013

 Case-specific discovery of plaintiffs                Fall 2013

 Summary judgment briefing                            Fall 2013

 Expert reports exchanged and depositions             Fall 2013
 conducted
 Trial(s)                                             Summer 2014




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       Nothing in this order shall prevent any party from moving for a stay of discovery or other

proceedings for any reason, or from opposing such a motion.

So Ordered.


                                                    /s/ F. Dennis Saylor
                                                    F. Dennis Saylor IV
                                                    United States District Judge
Dated: June 28, 2013




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